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EXHIBIT I
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575 LEXINGTON AVENUE * 7TH FLOOR* NEW YORK, NY 10022 PH. 212.446.2300 © FAX 212.446.2350

February 10, 2015

Via Email and First Class Mail
Professor Alan Dershowitz
Harvard Law School

520 Hauser Hall

1575 Massachusetts Avenue
Cambridge, MA 02138
Dersh@law.harvard.edu

Re: Notice Pursuant to Florida Rule of Professional Conduct 4-1.18

Dear Professor Dershowitz:

-I serve as, the General,Counsel for Boies, Schiller & Flexner LLP. (“BSE? or.the “Firm’’).
i write to provide notice pursuant to Florida Rule of Professional Conduct 4-1.:18 that-wehave-~.
‘screened two. lawyers, Carlos Sires and Stuart Singer, f from: a tepresematiqn: that is: even to-you
a “Screened | Matter’)... Sy VSR Coe tet plu: uaa Gane an

 

We indersiand: Hi you w have had roarnreieaieee involving Mr. ‘Shee ait Mr. Singer
regarding : a-potential representation in connection with Edwards v- Dershowitz, pending in the
Circuit Court of the Seventeenth Judicial Circuit, in and for Broward County, Florida. Mr. Sires
communicated to you that the Firm could not take on this potential representation due to a
conflict, the nature of which we are unable to disclose. Additionally, given Jonathan Schiller’s
role as Chairman of the Board of Columbia University, the Firm’s executive committee is
reluctant to take on matters involving universities or faculty during his tenure.

~ No dttommey-clent relationship developed, and we are not aware that you conveyed, to Mr.
Sires or Mr. Singer any information that could be used to your disadvantage.. However, in an
excess of caution, we have taken the following steps to screen Mr. Sires and Mr. Singer from the
Screened Matter.

We have notified all Firm personnel in writing that Mr. Sires and Mr. Singer may not
participate in any way in the Screened Matter. Furthermore, all:Firm ‘personnel have been
instructed in writing that no-‘one may discuss with Mr: Sires: or Mr. Singer any aspect of the
Screened Matter or any information in any way relating to that matter; that no one may discuss
the Screened Matter in the presence of or near Mr. Sires or Mr. Singer; and that no one may
show. Mr. Sires. OF Mr. Singer. any documents relating to the Screened. Matter. ‘Mr. Sires.and Mr. ~
Singer has been. instructed, orally and in writing, not to.discuss or share-any. data; infornaation; or
documents. regarding 1 the any aspect of the allegations against you or your responses to those: .

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BOTIES, SCHILLER & FLEXNER LLP

allegations. Furthermore, all files concerning the Screened Matter will be segregated and
secretarial and other staff assignments will be made so that those files will not be accessible to
Mr. Sires or Mr. Singer. Mr. Sires and Mr. Singer will not have access to the Firm’s limited
access computer drive in which data, information and documents in connection with the
Screened Matter are stored. Finally, the Firm’s executives and accounting department will take
the necessary steps to ensure that Mr. Sires and Mr. Singer will not share in any fees paid to the
Firm in connection with the Screened Matter.

If you have any questions, please feel free to contact me.

Respectfully yours,

Nicholas A. Gravante, Jr.
